           Case 2:22-cr-00047-AWA-LRL Document 34 Filed 07/21/22 Page 1 of 4 PageID# 84




                              IN THE UNITED STATES DISTRICT COURT

                              FOR THE EASTERN DISTRICT OF VIRGINIA

                                              Norfolk Division

           UNITED STATES OF AMERICA                     Case No. 2:22-cr-00047

           v.

           PATRICK TATE ADAMIAK,                        DEFENDANT’S UNOPPOSED MOTION
                                                        TO EXTEND PRETRIAL MOTIONS
                            Defendant.                  DEADLINE AND MEMORANDUM IN
                                                        SUPPORT


                  NOW COMES the defendant, Patrick Tate Adamiak, by counsel, pursuant to

           18 U.S.C. § 3161(h), and respectfully moves this Court to extend the pretrial motions

           deadline, currently set for July 22, 2022, to August 1, 2022. The Government does not

           oppose this Motion.

                                     MEMORANDUM IN SUPPORT

                  I.       Relevant Procedural History

                  On May 4, 2022, a federal grand jury returned an eleven-count indictment

           against Mr. Adamiak, charging him with one count of dealing firearms without a

           license, in violation of 18 U.S.C. § 922(a)(l)(A) (Count 1), five counts of receive and

           possess an unregistered machinegun, in violation of 26 U.S.C. §§ 5841, 5861(d)

Prepared   and 5871 (Counts 2, 4, 6, 8, and 10), and five counts of unlawful possession and
by David
Michael
Good,      transfer of a machinegun, in violation 18 U.S.C. § 922(o) (Counts 3, 5, 7, 9, and 11)
P.C.
           (ECF No. 15).

                  On June 23, 2022, a federal grand jury returned a five-count superseding

           indictment against Mr. Adamiak, charging him with four counts of receive and possess

           UNITED STATES OF AMERICA V. PATRICK TATE ADAMIAK; 4:19CR47-29-DJN;
           DEFENDANT’S UNOPPOSED MOTION TO EXTEND PRETRIAL MOTIONS DEADLINE AND
           MEMORANDUM IN SUPPORT - 1
           Case 2:22-cr-00047-AWA-LRL Document 34 Filed 07/21/22 Page 2 of 4 PageID# 85




           an unregistered machinegun or destructive device, in violation of 26 U.S.C. §§ 5841,

           5845, 5861(d), and 5871 (Counts 1, and 3-5), and one count of unlawful possession

           and transfer of a machinegun, in violation of 18 U.S.C. § 922(o) (Count 2). (ECF No.

           28).

                  On April 8, 2022, Mr. Adamiak was arrested (ECF No. 6) and appeared for his

           initial appearance on the same day (ECF No. 5). On that day the Court issued a

           Temporary Order of Detention (ECF No. 7). On April 13, 2022, Mr. Adamiak was

           released on an unsecured bond (ECF No. 13). On May 11, 2022, during the

           arraignment, the Court set a jury trial for July 12, 2022, and set the preliminary

           motions deadline for June 1, 2022. (ECF No. 18). During the arraignment concerning

           the superseding indictment on June 28, 2022, the Court set a jury trial for October 18,

           2022, and set the preliminary motions deadline for July 22, 2022. (ECF No. 31).

                  II.     Factual Assertions

                  The Supreme Court’s recent decision in New York State Rifle & Pistol Assn., et

           al. v. Bruen, 597 U.S. __ (slip op., 2022), decided June 23, 2022, may potentially

           present constitutional implications in Second Amendment jurisprudence, and may

           affect this case. Defense counsel continue to research and discuss the potential

           implications of this opinion in this case.

                  III.    Memorandum of Law
Prepared
by David
Michael           The Speedy Trial Act, 18 U.S.C. § 3161(h), excludes from the computation
Good,
P.C.
           time in which a trial must commence “[a]ny period of delay resulting from a

           continuance … at the request of the defendant …, if the judge granted such

           continuance on the basis … that the ends of justice served by taking such action


           UNITED STATES OF AMERICA V. PATRICK TATE ADAMIAK; 4:19CR47-29-DJN;
           DEFENDANT’S UNOPPOSED MOTION TO EXTEND PRETRIAL MOTIONS DEADLINE AND
           MEMORANDUM IN SUPPORT - 2
           Case 2:22-cr-00047-AWA-LRL Document 34 Filed 07/21/22 Page 3 of 4 PageID# 86




           outweigh the best interest of the public and the defendant in a speedy trial.” 18 U.S.C.

           § 3161(h)(7)(A). A court, in its determination whether to grant a continuance and

           exclude any resulting period of delay from the Act’s computation of time, must

           consider, inter alia, whether its denial of the continuance will result in a “miscarriage

           of justice” (18 U.S.C. § 3161(h)(7)(B) (i)) or denying a party “the exercise of due

           diligence” (18 U.S.C. § 3161(h)(7)(B)(iv)).

                  IV.     Opposing Party’s Position

                  The Government does not oppose this motion.

                  V.      Conclusion

                  Mr. Adamiak, by counsel, based on the foregoing, respectfully requests that

           this Court extend the pretrial motions deadline to August 1, 2022.

                                                  Respectfully submitted,

                                                  PATRICK TATE ADAMIAK
                                                  Of Counsel

           /s/
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           UNITED STATES OF AMERICA V. PATRICK TATE ADAMIAK; 4:19CR47-29-DJN;
           DEFENDANT’S UNOPPOSED MOTION TO EXTEND PRETRIAL MOTIONS DEADLINE AND
           MEMORANDUM IN SUPPORT - 3
           Case 2:22-cr-00047-AWA-LRL Document 34 Filed 07/21/22 Page 4 of 4 PageID# 87




           E-mail: lwoodward@srgslaw.com

                                        CERTIFICATE OF SERVICE

                  I hereby certify that on the 21st day of July 2022, I will electronically file the

           foregoing with the Clerk of Court using the CM/ECF system, which will then send a

           notification of such filing (NEF) to all counsel of record.

           /s/
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           UNITED STATES OF AMERICA V. PATRICK TATE ADAMIAK; 4:19CR47-29-DJN;
           DEFENDANT’S UNOPPOSED MOTION TO EXTEND PRETRIAL MOTIONS DEADLINE AND
           MEMORANDUM IN SUPPORT - 4
